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                             OFFICE OF THE CLERK
                         UNITED STATES DISTRICT COURT
                            Northern District of California

                                        CIVIL MINUTES
 Date: August 23, 2022            Time: 2:51 - 3:51              Judge: EDWARD M. CHEN
                                        60 Minutes


 Case No.: 21-cv-01143-EMC        Case Name: Sausalito/Marin County Chapter CA Homeless
           22-cv-00928-EMC                    v. City of Sausalito (21-1143)
           22-cv-01810-EMC                    Philip Deschamps v. City of Sausalito (22-928)
           22-cv-01809-EMC                    Haley Allen v. City of Sausalito (22-1810)
           22-cv-02098-EMC                    Robbie Powelson v City of Sausalito (22-1809)
           22-cv-01995-EMC                    Jennifer Moffit v City of Sausalito (22-2098)
           22-cv-02421-EMC                    Arthur Bruce v City of Sausalito (22-1995)
           22-cv-02441-EMC                    Jeff Chase v City of Sausalito (22-2421)
           22-cv-02727-EMC                    Ryan Tuttle v Zapata et al. (22-2441)
           22-cv-03627-EMC                    Speary v. City of Sausalito (22-2727)
                                              Worthen v. City of Sausalito (22-3627)
 Attorney for Plaintiffs: Anthony Prince
 Pro Se Plaintiff(s): Robbie Powelson, Arthur Bruce, Mechel Barron, Jeff Chase, Philip
 Deschamps
 Attorneys for Defendants: Alexander Merritt, Nick Sherman (Urban Alchemy in Worthen
 Only)
 Attorney for Defendant (Pro Se cases): Arthur Gaus


 Deputy Clerk: Vicky Ayala                             Court Reporter: Marla Knox

                                        PROCEEDINGS
 Further Case Management Conference – held.

                                           SUMMARY

Parties stated appearances.


Parties reached a settlement agreement in the main case, and the Homeless Union is in the
process of gathering signatures and releases from the participating individuals. The Union
currently has about 25 signatures out of the 30 individuals included in the agreement. Under the
agreement, they have until September 1, 2022, to receive the releases.
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Both the Union and the City indicated that they were interested in having the County participate in
discussing longer term solutions to the housing situation. The Union was provided a contact for
the County housing coordinator but has not been able to schedule a meeting. The Court hopes the
County will cooperate

Court heard from pro se individuals Deschamps and Powelson. Bruce, Chase and Barron also
attended. Concerns were raised regarding the scope of the agreement, such as who was included
in the agreement and which claims would be waived by signing the agreement (e.g., claims of
police misconduct). Court reminded parties that Judge Illman has been delegated the authority
under the settlement agreement to interpret and implement the agreement and resolve disputes
surrounding the agreement should go to him. Court further reminded Parties that claims of
individuals not included in the agreement or claims that fall outside the agreement can still be
brought to Judge Illman’s attention. Both individuals stated that they would appreciate Judge
Illman’s help in resolving the interpretation and implementation issues. After hearing from
Deschamps and Powelson, Court decided to not take further action or comments until the
settlement agreement is consummated and more information is known regarding signatures and the
status of the distribution of financial assistance.

The City indicated that they may move to dissolve some of the outstanding temporary restraining
orders and preliminary injunctions. Court suggested that the City wait until after the Status
Conference on October 11, 2022, before filing such motions. Additionally, Court reminded the
City that there are constitutional restraints on imposing criminal sanction on unhoused individuals
who do not have any place to go.

Further Case Management Conference is scheduled for October 11, 2022, at 2:30, p.m. Joint
Status Report due by October 4, 2022.
